     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 1 of 25. PageID #: 200




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                        )   CASE NO.: 3: 19 CR 4
                                                  )
                Plaintiff,                        )   JUDGE JAMES G. CARR
                                                  )
        v.                                        )
                                                  )
 ELIZABETH R. LECRON,                             )   BRIEF IN OPPOSITION TO MOTIONS
 VINCENT S. ARMSTRONG,                            )   TO DISMISS COUNTS TWO, THREE,
                                                  )   FOUR AND FIVE
                Defendants.


       Now comes the United States of America, by and through Justin E. Herdman, United

States Attorney, and Michelle M. Baeppler, Assistant United States Attorney, and opposes

Defendants’ Motions to Dismiss Counts Two, Three, Four, and Five of the Indictment in this

case. The reasons for the government’s opposition are more fully set forth in the memorandum

attached hereto and incorporated herein.

                                                      Respectfully submitted,

                                                      JUSTIN E. HERDMAN
                                                      United States Attorney

                                            By:       /s/ Michelle M. Baeppler
                                                      Michelle M. Baeppler (OH: 0065378)
                                                      Assistant United States Attorney
                                                      United States Court House
                                                      801 West Superior Avenue, Suite 400
                                                      Cleveland, OH 44113
                                                      (216) 622-3995
                                                      (216) 685-2378 (facsimile)
                                                      Michelle.Baeppler@usdoj.gov
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 2 of 25. PageID #: 201




                                       MEMORANDUM

I.     BACKGROUND

       A.      FACTUAL BACKGROUND

       Elizabeth Lecron and Vincent Armstrong met in February 2018 and started dating shortly

thereafter. Lecron moved in with Armstrong in May 2018 at a residence in Toledo, Ohio. Both

Lecron and Armstrong became immersed in the “True Crime Community (“TCC”)” on the social

media platform Tumblr.

       Despite its name, a segment of this TCC group fixated exclusively on mass murder and

lionized those who committed such murders. Lecron and Armstrong routinely posted images

and videos glorifying the Columbine shooters, 1 Dylann Roof, 2 and Adam Lanza. 3 They also

wrote in personal journals about their suicidal and homicidal ideations.

       In the summer of 2018, the FBI received information that Lecron and Armstrong were

planning a violent attack and had purchased some of the elements for a pipe bomb. Armstrong

started wearing only black shirts and camouflage pants, and he and Lecron frequented a local

shooting range to practice using their firearms.




1
 The Columbine High School shooting occurred on April 20, 1999. Students Eric Harris and
Dylan Klebold murdered 12 students and one teacher. Numerous others were injured. In
addition to firearms, the attack also included the use of homemade explosive devices. Harris and
Klebold committed suicide.
2
  Dylann Roof committed a mass shooting at a primarily African-American church in Charleston,
South Carolina on June 17, 2015. He killed nine people. He was later apprehended by law
enforcement. He confessed that he hoped to ignite a race war. Roof was eventually convicted in
federal court of numerous crimes and was sentenced to death.
3
 Adam Lanza committed a mass shooting at Sandy Hook Elementary School in Newtown,
Connecticut on December 14, 2012. He shot and killed 20 young children and six staff
members. He also killed his mother at their home. He committed suicide.




                                                   2
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 3 of 25. PageID #: 202




       Lecron and Armstrong’s plan to commit a mass murder morphed over several months.

First, they agreed to use a pipe bomb before deciding on a specific target. They printed out

bomb-making instructions and purchased end caps, screws, and a drill to make the bomb. This

pipe-bomb plan then evolved into committing a mass murder at a local bar in Toledo. The use of

a pipe bomb, in conjunction with firearms, melded together to create a recipe that Lecron and

Armstrong hoped would yield maximum human carnage. Despite the evolution of the plan, one

thing remained constant: Lecron and Armstrong’s desire to cause mass casualties.

       While Lecron and Armstrong were planning to use a pipe bomb and firearms at a local

Toledo bar, Lecron was also assisting in another plot – she agreed to buy and did buy explosives

for an attack that she believed was going to occur on a pipeline in Georgia. Lecron purchased

explosive powder at a Toledo area shop.

       B.      SUMMARY OF CHARGES IN THE INDICTMENT

       On January 3, 2019, a federal grand jury charged Lecron and Armstrong with multiple

crimes relating to these schemes. (R. 9: Indictment). Count 1 charges them with a conspiracy in

violation of 18 U.S.C. § 844(n). The conspiracy alleges that Lecron and Armstrong

(a) conspired to transport or receive an explosive with the knowledge and intent that it would be

used to kill, injure, or intimate any individual, in violation of 18 U.S.C. § 844(d); and

(b) conspired to maliciously damage or destroy property by fire or explosive, in violation of

18 U.S.C. §844(i).

       Counts 2 and 3 charge them with conspiracy to use and carry destructive devices (Count

2) and firearms (Count 3) during in relation to a crime of violence as set forth in 18 U.S.C.

§ 924(c), both in violation of 18 U.S.C. § 924(o). The underlying crimes of violence alleged are

transporting or receiving an explosive with the knowledge and intent that it would be used to kill,




                                                  3
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 4 of 25. PageID #: 203




injure, or intimate any individual, in violation of 18 U.S.C. § 844(d), and maliciously damaging

or destroying property by fire or explosive, in violation of 18 U.S.C. § 844(i).

       Count 4 charges Lecron with possessing a firearm in furtherance of a crime of violence,

in violation of 18 U.S.C. § 924(c). The underlying crime of violence alleged is conspiracy to

transport or receive an explosive with intent to kill, injure, or intimidate any individual, and

conspiracy to maliciously damage or destroy property by fire or explosive, in violation of

18 U.S.C. § 844(n). Count 5 charges Armstrong with possessing a firearm in furtherance of this

same crime of violence.

       Count 6 charges Armstrong with making false statements to FBI agents, in violation of

18 U.S.C. § 1001(a)(2).

       Count 7 charges Lecron with purchasing black powder in an effort to bomb a pipeline in

the State of Georgia, in violation of 18 U.S.C. § 844(d).




                                                  4
      Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 5 of 25. PageID #: 204




II.     LAW AND ARGUMENT

        A.      COUNTS TWO, THREE, FOUR, AND FIVE OF THE INDICTMENT
                SUFFICIENTLY ALLEGE CRIMES.

        An indictment must include “a plain, concise, and definite written statement of the

essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). An indictment is

sufficient if it contains the elements of the offense, provides sufficient notice to defend against

the charges, and enables the defendant to raise a double jeopardy defense to a future prosecution.

Hamling v. United States, 418 U.S. 87, 117 (1974). “An indictment will usually be sufficient if

it states the offense using the words of the statute itself, as long as the statute fully and

unambiguously states all the elements of the offense.” United States v. Superior Growers

Supply, Inc., 982 F.2d 173, 176 (6th Cir. 1992). An indictment is to be liberally construed in

favor of its sufficiency. United States v. McAuliffe, 490 F.3d 526, 531 (6th Cir. 2007).

        A typical Section 924(c) indictment charges that the defendant used or carried a firearm

during and in relation to a “crime of violence” and then identifies that predicate crime. In that

context, an indictment that identifies the predicate offense and alleges that the predicate is a

“crime of violence” is sufficient to satisfy the Hamling standard. A further definition of the term

“crime of violence” is not required. See generally, e.g., United States v. McGarity, 669 F.3d

1218, 1235-38 (11th Cir.) (upholding indictment charging violation of 18 U.S.C. § 2252A), cert.

denied, 568 U.S. 921 (2012); Cf. Hamling, 418 U.S. at 118-19 (indictment not required to define

the “legal term of art” “obscene”).

        Counts 2 and 3 of the indictment are sufficient. They charge Lecron and Armstrong with

conspiring to violate Section 924(c), which is a violation of 18 U.S.C. § 924(o). Specifically,

those counts allege that Defendants conspired to use and carry destructive devices (Count 2) and

firearms (Count 3) during in relation to crimes of violence. The underlying crimes of violence



                                                   5
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 6 of 25. PageID #: 205




alleged are transporting or receiving an explosive with the knowledge and intent that it would be

used to kill, injure, or intimate any individual, in violation of 18 U.S.C. § 844(d), and

maliciously damaging or destroying property by fire or explosive, in violation of 18 U.S.C.

§ 844(i). Each count follows the language of the underlying statute, contains the elements of the

offense, provides sufficient notice to defend against the charges, and would enable Lecron and

Armstrong to raise a double jeopardy defense if they were later prosecuted. As such, Counts 2

and 3 are facially valid. See Hamling, 418 U.S. at 117.

       In their Motions to Dismiss, Defendants advance the argument that Counts 2 and 3 of the

Indictment are deficient insofar as “§ 922(o) [sic] relies on § 924(c)’s definition of a crime of

violence, [and] a conspiracy is also not a crime of violence for § 922(o) [sic] purposes.” (R.27:

Defendant Lecron Motion to Dismiss, PageID 175; R.34: Defendant Armstrong Motion to

Dismiss, PageID 192.) Defendants misread Counts 2 and 3 of the Indictment. Counts 2 and 3

allege first that the Defendants conspired to commit a substantive crime, i.e., a Section 924(c)

offense, and second, that substantive offenses, i.e., Section 844(d) and Section 844(i) offenses,

not conspiracies, were the underlying crimes of violence. Therefore, regardless of whether a

conspiracy can constitute a crime of violence, factually, there is no merit to Defendants’

argument.

       Defendants also claim Counts 2 and 3 are defective because the grand jury did not also

separately charge the Defendants with the underlying substantive offenses. They have cited no

authority which shows that those charges are required. In fact, it is not required. To sustain a

Section 924(c) conviction, it is unnecessary that the defendant be convicted of, or even charged

with, the underlying predicate offense. See, e.g., United States v. Randall, 171 F.3d 195, 205

(4th Cir. 1999); United States v. Crump, 120 F.3d 462, 466 (4th Cir. 1997) (collecting cases);




                                                  6
      Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 7 of 25. PageID #: 206




United States v. Anderson, 39 F.3d 331, 355 (D.C. Cir. 1994). Indeed, even an acquittal on the

predicate offense, when charged as a separate count, does not foreclose a conviction under §

924(c)(1). United States v. Hopkins, 310 F.3d 145, 153 (4th Cir. 2002); United States v. Frayer,

9 F.3d 1367, 1372 (8th Cir. 1993); United States v. Ruiz, 986 F.2d 905, 911 (5th Cir. 1993);

United States v. Hill, 971 F.2d 1461, 1464 (10th Cir. 1992) (en banc). Since a defendant need

not be charged with the underlying substantive crime of violence to sustain a Section 924(c)

charge, there is also no requirement that the substantive crime be charged to support a Section

924(o) conspiracy charge. For each of these reasons, their attack on the validity of Counts 2 and

3, therefore, fails.

        Defendants’ attacks on the sufficiency of Counts 4 and 5 similarly fails. Counts 4 and 5

charge Lecron and Armstrong, respectively, with possession of firearms in furtherance of the

crime of violence as set forth in Count 1, that is a conspiracy to violate either Sections 844(d) or

844(i). Counts 4 and 5 track the language of the underlying statute, contain the elements of the

offense, provide sufficient notice to defend against the charges, and would enable defendants to

raise a double jeopardy defense if they were later prosecuted. As such, Counts 4 and 5 are

facially valid. See Hamling, 418 U.S. at 117.

        The substance of Defendants’ attack on Counts 4 and 5 is not that the indictment is

defective, but rather, that a Section 844(n) conspiracy cannot qualify as a crime of violence

predicate offense. As set forth below, their position is incorrect for multiple, independent

reasons, all of which require this Court to deny Defendants’ motions.

        B.      LAW REGARDING SECTION 924(C)

        Under 18 U.S.C. § 924(c), “any person who, during and in relation to any crime of

violence or drug trafficking crime . . . for which the person may be prosecuted in a court of the

United States, uses or carries a firearm, or who, in furtherance of any such crime, possesses a


                                                  7
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 8 of 25. PageID #: 207




firearm,. . . .,” is guilty of an offense. For purposes of Section 924(c), a “crime of violence” is a

felony that:

               (A) has as an element the use, attempted use, or threatened use of
               physical force against the person or property of another, or

               (B) that by its nature, involves a substantial risk that physical force
               against the person or property of another may be used in the course
               of committing the offense.

See 18 U.S.C. § 924(c)(3). Subsection A is commonly referred to as the “force clause” or

“elements clause,” while part B is referred to as the “residual clause.” See, e.g., United States v.

Tibbs, 685 F. App’x 456, 465 (6th Cir. 2017). On appeal, the Sixth Circuit applies the

categorical approach to determine whether the underlying offense met the definition of a “crime

of violence.” United States v. Rafidi, 829 F.3d 437, 444 (6th Cir. 2016). 4

       Defendants incorrectly claim that the crime of violence predicate offense listed in Counts

4 and 5 is not a crime of violence under Section 924(c)(3) because it is a conspiracy, rather than

a substantive offense. This claim is contrary to established Sixth Circuit precedent. In fact,

numerous Sixth Circuit cases hold that conspiracies to commit crimes of violence can qualify as

predicates under Section 924(c)(3)(A) and (B). Defendants further ignore a recent Sixth Circuit

case finding that Section 924(c)(3)(B) is not unconstitutionally vague. See United States v.

Taylor, 814 F.3d 340, 379 (6th Cir. 2016). Based on a proper reading of Sixth Circuit case law,

Counts 4 and 5 properly allege that Lecron and Armstrong possessed firearms in furtherance of a

crime of violence.




4
         As further described below, the government believes that, in the context of a Section
924(c) violation that has not yet been tried, the issue of whether an offense involved a substantial
risk of the use of physical force to satisfy the Section 924(c)(3)(B) residual clause raises a mixed
question of fact and law that can be determined by a jury based on an evaluation of the
underlying conduct, thereby obviating the need for a categorical analysis.


                                                  8
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 9 of 25. PageID #: 208




       C.      VIOLATIONS OF SECTION 844(D) AND 844(I) ARE CRIMES OF
               VIOLENCE

       In Counts 4 and 5, the indictment alleges that Defendants’ underlying crime of violence

for the Section 924(c) counts was a conspiracy to violate either 18 U.S.C. § 844(d) or § 844(i).

Defendants’ motions do not challenge that both of these crimes, substantively, qualify as “crimes

of violence” under Section 924(c)(3)(A)’s elements clause. The language of those statutes

confirm that they qualify.

       Title 18, Section 844(d), United States Code consists of the following elements:

       (1) Transportation or receipt in interstate commerce,

       (2) of any explosive,

       (3) with knowledge or intent that it will be used to kill, injure or intimidate any
           individual.

On its face, § 844(d)’s requirement of knowledge or intent that the explosive will be “used to

kill, injure or intimidate any individual,” necessarily contemplates the use of physical force 5

against person or property that is contemplated by § 924(c)(3)(A). As such, it qualifies as an

elements-clause predicate offense.

       Title 18, Section 844(i), United States Code, consists of the following elements:

       (1) Malicious damage or destruction, or attempt of the same;

       (2) by means of fire or explosive;

       (3) to any building, vehicle, or other real or personal property.




5
        Physical force means “force capable of causing physical pain or injury to another
person.” Johnson v. United States, 559 U.S. 133 (2010). Any force that is sufficient to
overcome a victim’s resistance is sufficient to meet this standard. United States v. Stokeling, 139
S. Ct. 544 (2019).


                                                  9
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 10 of 25. PageID #: 209




        Similar to § 844(d), § 844(i)’s requirement of damage or destruction by means of fire or

explosive, on its face contemplates the use of physical force contemplated by § 924(c)(3)(A).

Thus, it too plainly qualifies.

        Moreover, courts have held and tacitly recognized both 18 U.S.C. § 844(d) and § 844(i)

to be “crimes of violence.” See United States v. Oakes, No. 3:16-cr-00196, 2018 WL 2388562

(M.D. Tenn., May 25, 2018) (holding that 18 U.S.C. § 844(i) is a “crime of violence” under

either Section 924(c)’s elements clause or residual clause); see also United States v. Holdridge,

30 F.3d 134 (6th Cir. 1994) (holding that the imposition of consecutive sentences under § 844(i)

and § 924(c) does not violate the Double Jeopardy Clause); accord, United States v. Strickland,

261 F.3d 1271 (6th Cir. 2001), United States v. Kirkpatrick, 172 F.3d 50 (6th Cir. 1998), United

States v. Smith, 502 F.3d 680, 691 (7th Cir. 2007); United States v. Nguyen, 117 F.3d 796, 797

(5th Cir. 1997), United States v. Hammond, F. App’x (4th Cir. 1997), United States. v. Salameh,

261 F.3d 271 (2nd Cir. 2001).

        Defendants do not appear to dispute that a violation of either § 844(d) or § 844(i)

constitute a crimes of violence under the elements clause of § 924(c)(3)(A). Instead, their

argument rests on the claim that conspiracies cannot qualify. The Sixth Circuit disagrees with

their position.

        D.        CONSPIRACIES ARE “CRIMES OF VIOLENCE” UNDER THE FORCE
                  CLAUSE

        Defendants’ argument that a Conspiracy under 18 U.S.C. § 844(n), as alleged in Count

One, is not a “crime of violence,” such that it cannot serve as a predicate for a charge under

18 U.S.C. § 924(c) is contrary to Sixth Circuit precedent, which this Court must follow.

Defendants cite multiple cases from other circuit courts that hold that conspiracies cannot be

“crimes of violence.” These out-of-circuit cases are neither persuasive, nor binding in this



                                                10
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 11 of 25. PageID #: 210




Circuit, nor on this Court. Defendants fail to cite a single case from the Sixth Circuit to support

the argument they advance. Rather, Defendants ask this Court to disregard Sixth Circuit

precedent. This Court should decline the invitation.

          The Sixth Circuit has held that conspiracies can in fact constitute “crimes of violence,” so

as to serve as predicates for convictions under Section 924(c). In United States v. Johnson,

726 F.App’x 393, 407-08 (6th Cir. 2018), the Sixth Circuit rejected a defendant’s claim that his

RICO conspiracy conviction was not a crime of violence under Section 924(c)(3)(A)’s force

clause. Since the underlying racketeering activity that was part of the RICO conspiracy required

the use of force, the Sixth Circuit found that the RICO conspiracy also qualified under the force

clause.

          Similarly, in United States v. Vichitvongsa, 819 F.3d 260 (6th Cir. 2016), the Sixth

Circuit affirmed multiple Section 924(c) convictions where the underlying crimes were Hobbs

Act robbery conspiracies and conspiracies to distribute controlled substances. While the

Vichitvongsa court reversed some Section 924(c) counts— because they were not based on

separate instances of use or carrying of a firearm—the Section 924(c) convictions were still

affirmed, where the underlying crimes of violence alleged were conspiracies.

          District courts within the Sixth Circuit have recognized the same. In United States v.

Graham, 2018 WL 339902 (E.D. Mich Jan. 9, 2018), for instance, a district court recognized that

the Sixth Circuit impliedly approved of a racketeering conspiracy serving as the predicate “crime

of violence” for a Section 924(c) charge. The court’s decision in Graham was based on an

unpublished Sixth Circuit case, United States v. Nicholson, 716 F. App’x 400 (6th Cir. 2017),

which also affirmed Section 924(c) convictions based on racketeering conspiracies. Several

other Sixth Circuit cases, similarly, have affirmed Section 924(c) convictions where the




                                                   11
    Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 12 of 25. PageID #: 211




underlying crime of violence was identified as a conspiracy, rather than a substantive crime. See,

e.g., United States v. Cole, 526 F.App’x 638 (6th Cir. 2013) (upholding Section 924(c)

convictions based on one conspiracy to distribute drug crime and one possession with intent to

distribute drug crime); U.S. v. Graham, 275 F.3d 490 (6th Cir. 2001) (upholding a Section 924(c)

conviction predicated upon a Section 371 conspiracy to commit offenses against the United

States, including violations of 18 U.S.C. § 922(o) (Possessing a machinegun), § 1114 (Attempt

or Killing of an Officer or Employee of the United States), § 115(a)(1)(B) (Influencing,

impeding, or retaliating against a Federal official by threatening or injuring a family member),

§ 111 (Assaulting, resisting or impeding certain officers or employees), and § 844(i) (Malicious

damage or destruction by means of fire or explosive).

       In short, there is established precedent in this Circuit recognizing that conspiracies to

commit violent crimes in fact constitute appropriate predicates for a Section 924(c) charge.

Defendants’ argument to the contrary finds no precedent in this Circuit.

       E.      CONSPIRACIES ARE ALSO CRIMES OF VIOLENCE UNDER THE
               RESIDUAL CLAUSE

       Defendants’ motions also claim that the residual clause in Section 924(c)(3)(B) is

unconstitutionally vague. This position is an improper attempt to extend the Supreme Court’s

ruling in Sessions v. Dimaya, 138 S. Ct. 1204 (2018). In Dimaya, the Supreme Court held that

18 U.S.C. 16(b)’s residual clause was unconstitutionally vague. It did not hold that the residual

clause in Section 924(c)(3)(B) was. Dimaya did not address nor invalidate Section 924(c)(3)(B).

Indeed, in his dissent, Chief Justice Roberts expressly noted that the Court was not yet deciding

the Section 924(c)(3)(B) question. See Dimaya, 138 S. Ct. at 1241. In fact, the Supreme Court

recently granted the government’s petition for certiorari on this very issue, demonstrating that




                                                12
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 13 of 25. PageID #: 212




the Court has yet to decide it. See United States v. Davis, __ U.S. __139, S. Ct. 782 (2019)

(raising the question whether 18 U.S.C. § 924(c)(3)(B) is unconstitutionally vague).

       Accordingly, until the Supreme Court rules on this issue, the law in the Sixth Circuit

remains that the residual clause in Section 924(c)(3)(B) passes constitutional muster. The Sixth

Circuit has already rejected challenges to the constitutionality of § 924(c)(3)(B). In United

States v. Taylor, 814 F.3d 340 (6th Cir. 2016), the Sixth Circuit held that Johnson did not render

§ 924(c)(3)(B) unconstitutionally vague. Id. at 379. And in Shuti v. Lynch, 828 F.3d 440 (6th

Cir. 2016), the Sixth Circuit expressly distinguished the § 924(c)(3)(B) residual clause from the

ACCA and 18 U.S.C. § 16(b) residual clauses because these latter provisions “require a

categorical approach to stale predicate convictions,” while “18 U.S.C. § 924(c) is a criminal

offense that requires an ultimate determination of guilt beyond a reasonable doubt—by a jury, in

the same proceeding.” Id. at 449. As a result, the Sixth Circuit read its earlier decision in Taylor

“as applying Johnson’s real-world conduct exception to uphold the constitutionality of

§ 924(c)(3)(B).” Id. at 450. This Court is bound by this precedent.

       F.      SECTION 924(C)(3)(B) IS NOT UNCONSTITUTIONALLY VAGUE DESPITE
               DIMAYA BECAUSE THE SECTION 924(C) RESIDUAL CLAUSE REQUIRES
               A CASE-SPECIFIC APPROACH.

       Defendants assume that the Supreme Court will declare Section 924(c)(3)(B)

unconstitutionally vague because its language is virtually the same as Section 16(b). This

argument assumes that the categorical approach must apply to Section 924(c)(3)(B). Although

the government has previously advocated for a categorical approach to determine whether an

offense constitutes a “crime of violence” under § 924(c)(3)(B), nothing in the statute or decisions

of the Supreme Court requires such an approach. And indeed, the Sixth Circuit in Shuti

recognized that the Section 924(c) residual clause is different. Based on this and guidance




                                                13
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 14 of 25. PageID #: 213




provided in recent Supreme Court precedent, the government now believes that the residual

clause requires a case-specific approach in the Section 924(c) context.

       More specifically, Section 924(c)(3)(B)’s subsection-specific crime of violence definition

is applicable only to the conduct for which the Defendants are currently being prosecuted, not to

any conduct for which the Defendants may have been convicted in the past. As the Sixth Circuit

recognized in Shuti, supra, it can naturally be read as inviting a case-specific determination as to

whether the defendant’s current conduct—not the hypothetical conduct of an “ordinary case”—

satisfies the substantial-risk requirement of 18 U.S.C. § 924(c)(3)(B). And, so construed,

§ 924(c)(3)(B) does not implicate the constitutional infirmity with the ordinary-case approach

that was identified in Johnson and reinforced in Dimaya. Indeed, the Supreme Court in those

cases “‘d[id] not doubt’” that such a case-specific approach, involving a jury finding beyond a

reasonable doubt about the “‘real-world conduct’” proved in the case, would be constitutional.

Dimaya, 138 S. Ct. at 1215 (quoting Johnson, 135 S. Ct. at 2561).

               1.      The Supreme Court has never required a categorical approach for Section
                       924(c)(3)(B).

       The Supreme Court has never required that courts follow a categorical approach in the

context of Section 924(c)(3)(B). In fact, the Supreme Court did not even hold in Dimaya that

language like Section 16(b)’s invariably mandates a categorical approach under which a court

must disregard real-world conduct in favor of attempting to identify the “ordinary case” of a

particular crime. A plurality of the Court viewed Section 16(b)—which often, as in the INA

context presented in Dimaya itself, is applied to classify a prior conviction entered by another

court in otherwise unrelated proceedings—as “[b]est read” to require such an approach. 138 S.

Ct. at 1217 (opinion of Kagan, J.); see id. at 1216-18. The plurality observed, however, that the

government had not asked the Court to abandon the categorical approach in the Section 16(b)



                                                 14
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 15 of 25. PageID #: 214




context. Id. at 1217. Justice Gorsuch, concurring in part and concurring in the judgment,

similarly stressed that the government had conceded the categorical-approach issue in Dimaya

and expressed his willingness to consider “in another case” whether “precedent and the proper

reading of language” like Section 16(b)’s in fact requires a categorical approach. Id. at 1233

(opinion of Gorsuch, J.). And Justice Thomas, joined by Justices Kennedy and Alito, filed a

dissenting opinion advocating that the Court “should abandon [the categorical] approach”

entirely under Section 16(b). Id. at 1242 (opinion of Thomas, J.).

       Accordingly, Dimaya did not include any holding by a majority of the Court that Section

16(b) requires a categorical approach. More to the point, it certainly leaves open the same

question for Section 924(c)(3)(B). Indeed, the Supreme Court is considering exactly that

question, i.e., whether the categorical approach applies to Section 924(c)(3)(B), later this term in

Davis. As discussed below, courts should construe Section 924(c)(3)(B) to require a case-

specific approach that considers the defendant’s own conduct, rather than the “ordinary case” of

his crime. Such a case-specific approach makes particular sense in the context of Section 924(c),

which—unlike Section 16(b) or the ACCA—employs the term “crime of violence” exclusively

to describe the circumstances of the conduct for which the defendant is presently charged.

               2.      Section 924(c)(3)(B) Should Be Interpreted To Require A Case-Specific
                       Approach

       Conviction under Section 924(c) requires a jury to find (or the defendant to admit through

a plea) that the defendant “committed all the acts necessary to be subject to punishment for” a

qualifying federal crime and that his commission of that crime had a sufficient nexus to his use,

carrying, or possession of a firearm. United States v. Rodriguez-Moreno, 526 U.S. 275, 280

(1999). The jury’s role thus inherently requires consideration of, and determinations about, the

unlawful course of conduct charged as a “crime of violence” under Section 924(c)(3)(B). Unlike



                                                 15
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 16 of 25. PageID #: 215




in the context of a recidivist sentencing enhancement (like the ACCA) or the classification of a

prior offense for purposes of determining an alien’s removability (like Section 16(b) in Dimaya),

Section 924(c)(3)(B)’s definition of a “crime of violence” is never applied to a prior conviction,

the specific facts of which may not be before the court. Instead, a prosecution under Section

924(c) will by necessity involve a “developed factual record” about the underlying crime.

United States v. St. Hubert, 883 F.3d 1319, 1335 (11th Cir. 2018). That feature of Section 924(c)

cases enables the jury to apply the “crime of violence” definition in Section 924(c)(3)(B) in a

case-specific manner that considers a defendant’s own conduct. Construing the statute to

incorporate such an approach “makes good sense,” id. at 1334, and is consistent with its text,

context, and interpretation by the Supreme Court.

       In order for an “offense” to be a crime of violence under Section 924(c)(3)(B), it must,

“by its nature, involve[]” a substantial risk that physical force “may be used in the course of

committing the offense.” 18 U.S.C. § 924(c)(3)(B). That language comports with a case-

specific approach that relies on the conduct at issue in a particular prosecution. A jury can

readily determine whether a defendant’s underlying “offense . . . by its nature, involves” the use

of physical force in the course of its commission without needing to consider what the “ordinary

case” of that offense might be. The term “nature” refers to “the basic or inherent features,

character, or qualities of something.” Oxford Dictionary of English 1183 (3d ed. 2010). That

“something” can be the defendant’s own crime, rather than a stylized “ordinary case.”

       The statutory and jurisprudential context of Section 924(c)(3)(B) provides additional

support for a case-specific approach. The position and function of Section 924(c)(3)(B) suggest

a statutory inquiry that goes beyond the legal definition of an offense. As noted above, Section

924(c)(3)(B) operates in tandem with Section 924(c)(3)(A), which defines a “crime of violence”




                                                 16
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 17 of 25. PageID #: 216




to include any federal offense that “has as an element the use, attempted use, or threatened use of

physical force.” By focusing solely on the “elements” of the crime, Section 924(c)(3)(A)

requires an “elements-based categorical approach” by a court, rather than consideration of “the

specific means by which the defendant committed the crime” by a jury. United States v. Evans,

848 F.3d 242, 245-46 (4th Cir. 2017); see, e.g., St. Hubert, 883 F.3d at 1331; cf. Mathis,

136 S. Ct. at 2248 (explaining that the inquiry under a similarly worded ACCA provision

“focus[es] solely on whether the elements of the crime of conviction sufficiently match” the

statutory definition). Section 924(c)(3)(B), however, is necessarily understood to cover offenses

other than those covered by Section 924(c)(3)(A). See Corley v. United States, 556 U.S. 303,

314 (2009) (explaining the “basic interpretive canon[]” that different provisions of a statute

should be interpreted to mean different things). And because Section 924(c)(3)(A) already

covers all offenses that have the legal element of physical force, Section 924(c)(3)(B)’s

substantial-risk-of-force standard naturally invites an inquiry that goes outside the four corners of

an offense’s legal definition.

       The customary way to apply a “qualitative standard such as ‘substantial risk’” is to do so

by reference “to real-world conduct,” not platonic legal constructs. Johnson, 135 S. Ct. at 2561.

“[D]ozens of federal and state criminal laws” use such terms, and “almost all” of them “require

gauging the riskiness of conduct in which an individual defendant engages on a particular

occasion.” Ibid.; see Gov’t Supp. Br. Appx. A-B, Johnson, supra (No. 13-7120) (listing

examples). An “ordinary case” categorical approach is an anomaly, not the norm, and Section

924(c)(3)(B)’s “substantial risk” inquiry can thus readily be understood as a mixed question of

law and fact that a jury would determine. Gaudin, 515 U.S. at 509-10; see id. at 513, 522-23

(noting that, with the exception of “pure questions of law,” “[t]he Constitution gives a criminal




                                                 17
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 18 of 25. PageID #: 217




defendant the right to have a jury determine, beyond a reasonable doubt, his guilt of every

element of the crime with which he is charged”) (emphasis omitted). Juries have resolved mixed

questions of law and fact in light of the record of the case before them since our country’s

founding, see id. at 511-15, and are fully capable of doing so in the context of Section

924(c)(3)(B).

       The reasons for applying the categorical approach to other statutes do not apply to

Section 924(c)(3)(B). The Supreme Court has required an “ordinary case” categorical approach

only in the context of statutes that are applied to classify prior convictions. The reasons for

applying the categorical approach in that context do not extend to Section 924(c)(3)(B), which

instead applies only to the conduct giving rise to the current prosecution.

       The Supreme Court first endorsed a “categorical approach” interpretation of a federal

statute in Taylor v. United States, supra. See St. Hubert, 883 F.3d at 1335. The Court in that

case considered whether the ACCA’s reference to a prior conviction for “burglary” meant

burglary as defined by state law or instead referred to “some uniform definition.” Taylor, 495

U.S. at 580. The Court determined that Congress had intended to refer to burglary in a uniform

“generic” sense, id. at 598, and then addressed how the government would prove that a

defendant’s prior conviction was for “generic burglary,” id. at 599-602. Taylor adopted the

categorical approach for reasons that were largely specific to the ACCA’s focus on prior

convictions and have no direct analogue in the context of Section 924(c)(3)(B). See 495 U.S. at

600-02; see, e.g., id. at 600 (reasoning that the ACCA required a categorical approach because

that statute “refers to ‘a person who . . . has three prior convictions’ for—not a person who has

committed—three previous violent felonies or drug offenses”) (emphasis added). At the “heart

of the decision” was a limitation on the amount of evidence about the circumstances underlying




                                                 18
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 19 of 25. PageID #: 218




prior convictions that the parties would be permitted to introduce for the first time at sentencing.

Shepard v. United States, 544 U.S. 13, 23 (2005); see Taylor, 495 U.S. at 601 (explaining why

“the practical difficulties and potential unfairness of a factual approach are daunting” in that

context). Prior convictions “that are counted for an ACCA enhancement are often adjudicated

by different courts in proceedings that occurred long before the defendant’s sentencing.” United

States v. Robinson, 844 F.3d 137, 142 (3d Cir. 2016).

       As explained in later cases, judicial factfinding involving prior convictions during

sentencing also presents concerns about potential violations of the Sixth Amendment. A judge’s

resolution of the disputed facts underlying a defendant’s prior conviction at sentencing would be

“too much like” the kind of factfinding that the Sixth Amendment requires the jury to conduct.

Shepard, 544 U.S. at 25 (plurality opinion); see Apprendi v. New Jersey, 530 U.S. 466, 490

(2000) (holding that, “[o]ther than the fact of a prior conviction, any fact that increases the

penalty for a crime beyond the prescribed statutory maximum must be submitted to a jury, and

proved beyond a reasonable doubt”).

       For those practical and constitutional reasons, “[t]he categorical approach serves a

purpose when evaluating prior state convictions committed long ago in fifty state jurisdictions

with divergent laws.” St. Hubert, 883 F.3d at 1336. But it does not serve that purpose in the

context of Section 924(c)(3)(B), where a jury has the factual record of the underlying offense

before it and must determine whether the defendant committed that offense before determining

whether the defendant’s use, carrying, or possession of a gun violated Section 924(c). Unlike in

the context of the classification of prior crimes, no practical or constitutional reason exists that

would require courts to “analyz[e] a § 924(c) predicate offense in a vacuum.” Robinson,

844 F.3d at 143. In the trial context, “[t]he jury’s determination of the facts of the charged




                                                  19
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 20 of 25. PageID #: 219




offenses unmistakably shed[s] light on whether the predicate offense” qualifies as a crime of

violence. Id. at 141. In that circumstance, “[t]he remedial effect of the ‘categorical’ approach is

not necessary.” Ibid.

       Nor does an underlying-conduct approach give rise to any of the Sixth Amendment

concerns that animated the Supreme Court’s adoption of the categorical approach. “[A]ny fact

that increases the penalty for a crime” under Section 924(c) is “submitted to a jury, and proved

beyond a reasonable doubt.” Apprendi, 530 U.S. at 490. Accordingly, the defendant “suffers no

prejudice because the court is not finding any new facts which are not of record in the case

before it.” Robinson, 844 F.3d at 143.

               3.       Use of Underlying Conduct Approach in This Case.

       Under an underlying-conduct approach, whether the Defendants’ commission of a

particular federal offense is a “crime of violence” becomes a mixed question of fact and law.

The Fifth and Sixth Amendments require that a jury resolve mixed questions of fact and law by,

in the context of Section 924(c)(3)(B), examining the circumstances of the defendants’ predicate

crime to determine whether the offense involved a substantial risk of the use of physical force.

Cf. United States v. Gaudin, 515 U.S. 506, 509-10, 522-23 (1995) (holding that the jury must

determine whether a defendant’s false statement was “material” under 18 U.S.C. § 1001 stating,

“The Constitution gives a criminal defendant the right to have a jury determine, beyond a

reasonable doubt, his guilt of every element of the crime with which he is charged.”)

       Requiring a jury to make the risk determination coheres with how juries have long resolved

mixed questions of fact and law. See Gaudin, 515 U.S. at 511-15 (detailing the historical record

dating back to the founding). To sustain a conviction under Section 924(c)(3)(B), the jury must

find four distinct elements: (i) the defendant “committed all the acts necessary to be subject to

punishment” for a particular federal offense; (ii) the federal offense was “a crime of violence”


                                                20
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 21 of 25. PageID #: 220




(iii) the defendant possessed, carried, or used a firearm; and (iv) any use or carrying of the firearm

was during and in relation to the federal offense, or any possession of the firearm was in

furtherance of the federal offense. United States v. Rodriguez-Moreno, 526 U.S. 275, 280 (1999);

18 U.S.C. § 924(c)(1)(A). Regardless of whether the categorical approach applies, this Court

would instruct the jury in the same manner as it always has on elements (i), (iii), and (iv). With

respect to element (ii), under an underlying-conduct approach, this Court would instruct the jury

that it must find beyond a reasonable doubt that the predicate federal offense, that is, conspiracy

under § 844(n), (the Defendants’ respective commission of which the jury must already have found

in order to satisfy element (i)) “involve[d] a substantial risk that physical force against the person

or property of another may [have] be[en] used in the course of committing the offense,” 18 U.S.C.

§ 924(c)(3)(B). A proposed model jury instruction is set forth in an Appendix to this brief in

opposition.

       This Court could aid the jury in its determination of that issue by defining the operative

terms within the definition of crime of violence and providing other direction to ensure that Section

924(c)(3)(B) is applied in a manner consistent with Congress’s intent. For example, this Court

could instruct the jury that a risk is “substantial” if it is “[o]f ample or considerable amount,” Life

Technologies Corp. v. Promega Corp., __ U.S. __, 137 S. Ct. 734, 740 (2017) (internal quotation

marks omitted), as opposed to unlikely, small, or negligible. It could define “physical force” to

mean “‘force capable of causing physical pain or injury’” to a person, Dimaya, 138 S. Ct. at 1220

(quoting Johnson v. United States, 559 U.S. 133, 140 (2010)), or “injury to property,” United

States v. Hill, No. 14-3872-cr, 2018 WL 2122417, at *5 (2d Cir. May 9, 2018). It could also

instruct the jurors that they may consider all of the evidence in the case as well as their common




                                                  21
       Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 22 of 25. PageID #: 221




sense in determining whether the predicate offense involved a substantial risk that physical force

would be used.

III.     CONCLUSION

         For the foregoing reasons, this Court should deny Defendants’ requests to dismiss Counts

Two, Three, Four, and Five of the Indictment.



                                                      Respectfully submitted,

                                                      JUSTIN E. HERDMAN
                                                      United States Attorney


                                                By:   /s/ Michelle M. Baeppler
                                                      Michelle M. Baeppler (OH: 0065378)
                                                      Assistant United States Attorney
                                                      United States Court House
                                                      801 West Superior Avenue, Suite 400
                                                      Cleveland, OH 44113
                                                      (216) 622-3995
                                                      (216) 685-2378 (facsimile)
                                                      Michelle.Baeppler@usdoj.gov




                                                 22
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 23 of 25. PageID #: 222




                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of March 2019 a copy of the foregoing document

was filed electronically. Notice of this filing will be sent to all parties by operation of the Court's

electronic filing system. All other parties will be served by regular U.S. Mail. Parties may

access this filing through the Court's system.


                                                       /s/ Michelle M. Baeppler
                                                       Michelle M. Baeppler
                                                       Assistant U.S. Attorney




                                                  23
     Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 24 of 25. PageID #: 223




      APPENDIX: PROPOSED JURY INSTRUCTION FOR SECTION 924(c)(3)(B)

Model instruction if the district court finds that the predicate offense satisfies the elements clause,
but Government desires to also have jury consider risk-clause finding:

Count __ of the indictment charges the defendant with [using; carrying] a firearm during and in
relation to a crime of violence. In order for you to find the defendant guilty of this charge, the
government must prove both of the following elements beyond a reasonable doubt:

           1. The defendant committed the crime of [name the predicate crime of violence]; and


           2. The defendant knowingly [used; carried] a firearm during and in relation to such
              crime.

If you find from your consideration of all the evidence that the government has proved each of
these elements beyond a reasonable doubt, then you should find the defendant guilty.

If, on the other hand, you find from your consideration of all the evidence that the government has
failed to prove any one of these elements beyond a reasonable doubt, then you should find the
defendant not guilty.

If you find the defendant guilty on that charge, you should next determine whether the government
has proven beyond a reasonable doubt that the defendant’s conduct associated with the [name
specific crime] involved a substantial risk that physical force may be used against the person or
property of another. If you find from your consideration of all the evidence that the government
proved that the defendant’s conduct involved a substantial risk that physical force may be used,
please check yes. If, on the other hand, the government did not prove that the defendant’s conduct
involved a substantial risk that physical force may be used against the person or property of
another, please check no.

Model instruction if Government wishes to forgo reliance on the elements clause:

Count ___ of the indictment charges the defendant with [using; carrying] a firearm during and in
relation to a crime of violence. In order for you to find the defendant guilty of this charge, the
government must prove the following elements beyond a reasonable doubt:

           1. The defendant committed the crime of [name the specific crime of violence];
                     1.

           2. The defendant knowingly [used; carried] a firearm during and in relation to a such
              crime; and


           3. The defendant’s conduct involved a substantial risk that physical force may be used
              against the person or property of another.



                                                  24
    Case: 3:19-cr-00004-JGC Doc #: 36 Filed: 03/29/19 25 of 25. PageID #: 224




If you find from your consideration of all the evidence that the government has proved each of
these elements beyond a reasonable doubt, then you should find the defendant guilty.

If, on the other hand, you find from your consideration of all the evidence that the government has
failed to prove any one of these elements beyond a reasonable doubt, then you should find the
defendant not guilty.




                                                25
